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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN


DARRYL DAVIS,

            Plaintiff,                               Case No. 2:19-cv-10118-GCS-RSW
vs.

CREDIT ACCEPTANCE CORPORATION,

            Defendant.


       STIPULATED ORDER COMPELLING ARBITRATION AND DISMISSAL

       By submission of this order for entry, the parties consent to its entry and the Court being

fully advised in the premises hereby ORDERS that:

       1.      Plaintiff Darryl Davis (“Plaintiff”) filed his Complaint against Defendant Credit

Acceptance Corporation (“Credit Acceptance”) on January 14, 2019.

       2.      Plaintiff and Credit Acceptance have agreed to arbitration and shall voluntarily

submit their respective claims and counterclaims to binding non-judicial arbitration.

       3.      The arbitration shall be conducted through the American Arbitration Association.

       4.      Plaintiff shall initiate arbitration and pay the initial filing fee and Credit

Acceptance shall be responsible for payment of the arbitrator’s fees.

       5.      The parties will be responsible for their respective attorneys’ fees and costs.

       6.      This action is stayed pending the outcome of arbitration.


       SO ORDERED.


                                              s/George Caram Steeh
                                              U.S. District Court Judge
Dated: March 14, 2019
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STIPULATED:


/s/Amy L. Bennecoff Ginsburg       /s/Stephen W. King
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